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1     TRACY L. WILKISON
      United States Attorney
2     SCOTT M. GARRINGER
      Assistant United States Attorney
3     Chief, Criminal Division
      CATHARINE A. RICHMOND (Cal. Bar No. 301184)
4     Assistant United States Attorney
      Violent & Organized Crime Section
5          1300 United States Courthouse
           312 North Spring Street
6          Los Angeles, California 90012
           Telephone: (213) 894-7162
7          Facsimile: (213) 894-0141
           E-mail:    catharine.richmond@usdoj.gov
8
      Attorneys for Plaintiff
9     UNITED STATES OF AMERICA
10                             UNITED STATES DISTRICT COURT
11                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12    UNITED STATES OF AMERICA,                 No. CR 20-320-JAK

13               Plaintiff,                     PLEA AGREEMENT FOR DEFENDANT
                                                TRAVIS SMITH
14                     v.

15    TRAVIS SMITH,

16               Defendant.

17

18          1.    This constitutes the plea agreement between TRAVIS SMITH
19    (“defendant”) and the United States Attorney’s Office for the Central
20    District of California (the “USAO”) in the above-captioned case.
21    This agreement is limited to the USAO and cannot bind any other
22    federal, state, local, or foreign prosecuting, enforcement,
23    administrative, or regulatory authorities.
24                              RULE 11(c)(1)(C) AGREEMENT
25          2.    Defendant understands that this agreement is entered into
26    pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C).
27    Accordingly, defendant understands that, if the             Court determines
28    that it will not accept this agreement, absent a breach of this
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1     agreement by defendant prior to that determination and whether or not

2     defendant elects to withdraw any guilty plea entered pursuant to this

3     agreement, this agreement will, with the exception of paragraph 21

4     below, be rendered null and void and both defendant and the USAO will

5     be relieved of their obligations under this agreement.              Defendant

6     agrees, however, that if defendant breaches this agreement prior to

7     the Court’s determination whether or not to accept this agreement,

8     the breach provisions of this agreement, paragraphs 23 and 24 below,

9     will control, with the result that defendant will not be able to
10    withdraw any guilty plea entered pursuant to this agreement, the USAO
11    will be relieved of all of its obligations under this agreement, and
12    the Court’s failure to follow any recommendation or request regarding
13    sentence set forth in this agreement will not provide a basis for
14    defendant to withdraw defendant’s guilty plea.
15                                DEFENDANT’S OBLIGATIONS

16          3.    Defendant agrees to:

17                a.    At the earliest opportunity requested by the USAO and

18    provided by the Court, appear and plead guilty to Count Two of the

19    Indictment in United States v. Smith, CR No. 20-320-JAK, which

20    charges defendant with Production of Child Pornography, in violation

21    of 18 U.S.C. § 2251(a), (e).

22                b.    Not contest facts agreed to in this agreement.

23                c.    Abide by all agreements regarding sentencing contained

24    in this agreement and affirmatively recommend to the Court that it

25    impose sentence in accordance with paragraph 16 of this agreement.

26                d.    Appear for all court appearances, surrender as ordered

27    for service of sentence, obey all conditions of any bond, and obey

28    any other ongoing court order in this matter.

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1                 e.    Not commit any crime; however, offenses that would be

2     excluded for sentencing purposes under United States Sentencing

3     Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

4     within the scope of this agreement.

5                 f.    Be truthful at all times with the United States

6     Probation and Pretrial Services Office and the Court.

7                 g.    Pay the applicable special assessment at or before the

8     time of sentencing unless defendant has demonstrated a lack of

9     ability to pay such assessments.
10                h.    Agree to and not oppose the imposition of a term of
11    supervised release under the following conditions of probation or
12    supervised release:
13                      i.    Defendant shall register as a sex offender, and
14    keep the registration current, in each jurisdiction where defendant
15    resides, where defendant is an employee, and where defendant is a
16    student, to the extent the registration procedures have been
17    established in each jurisdiction.          When registering for the first
18    time, defendant shall also register in the jurisdiction in which the

19    conviction occurred if different from defendant’s jurisdiction of

20    residence.    Defendant shall provide proof of registration to the

21    Probation Officer within ten days of defendant’s placement on

22    probation/release from imprisonment.

23                      ii.   Defendant shall participate in a psychological

24    counseling and/or psychiatric treatment and/or a sex offender

25    treatment program, which may include inpatient treatment upon order

26    of the Court, as approved and directed by the Probation Officer.

27    Defendant shall abide by all rules, requirements, and conditions of

28    such program, including submission to risk assessment evaluations and

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1     physiological testing, such as polygraph and Abel testing, but the

2     defendant retains the right to invoke the Fifth Amendment.               The

3     Probation Officer shall disclose the presentence report and/or any

4     previous mental health evaluations or reports to the treatment

5     provider.

6                       iii. As directed by the Probation Officer, defendant

7     shall pay all or part of the costs of treating defendant's

8     psychological/psychiatric disorder(s) to the aftercare contractor

9     during the period of community supervision, pursuant to 18 U.S.C.
10    § 3672.    Defendant shall provide payment and proof of payment as
11    directed by the Probation Officer.
12                      iv.   Defendant shall not view or possess any
13    materials, including pictures, photographs, books, writings,
14    drawings, videos, or video games, depicting and/or describing child
15    pornography, as defined in 18 U.S.C. § 2256(8), or sexually explicit
16    conduct depicting minors, as defined at 18 U.S.C. § 2256(2).                The
17    defendant shall not possess or view any materials such as videos,
18    magazines, photographs, computer images or other matter that depicts

19    “actual sexually explicit conduct” involving adults as defined by 18

20    U.S.C. § 2257(h)(1).      This condition does not prohibit defendant from

21    possessing materials solely because they are necessary to, and used

22    for, a collateral attack, nor does it prohibit defendant from

23    possessing materials prepared and used for the purposes of

24    defendant’s Court-mandated sex offender treatment, when defendant’s

25    treatment provider or the probation officer has approved of

26    defendant’s possession of the materials in advance.

27                      v.    Defendant shall not associate or have verbal,

28    written, telephonic, or electronic communication with any person

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1     under the age of 18, except: (a) in the presence of the parent or

2     legal guardian of said minor; and (b) on the condition that defendant

3     notifies said parent or legal guardian of defendant’s conviction in

4     the instant offense/prior offense.         This provision does not encompass

5     persons under the age of 18, such as waiters, cashiers, ticket

6     vendors, etc., with whom defendant must interact in order to obtain

7     ordinary and usual commercial services.

8                       vi.     Defendant shall not frequent, or loiter, within

9     100 feet of school yards, parks, public swimming pools, playgrounds,
10    youth centers, video arcade facilities, or other places primarily
11    used by persons under the age of 18.
12                      vii. Defendant shall not affiliate with, own, control,
13    volunteer or be employed in any capacity by a business or
14    organization that causes defendant to regularly contact persons under
15    the age of 18.
16                      viii.        Defendant shall not affiliate with, own,
17    control, or be employed in any capacity by a business whose principal
18    product is the production or selling of materials depicting or

19    describing “sexually explicit conduct,” as defined at 18 U.S.C.

20    § 2256(2).

21                      ix.     Defendant shall not own, use or have access to

22    the services of any commercial mail-receiving agency, nor shall

23    defendant open or maintain a post office box, without the prior

24    written approval of the Probation Officer.

25                      x.      Defendant’s employment shall be approved by the

26    Probation Officer, and any change in employment must be pre-approved

27    by the Probation Officer.       Defendant shall submit the name and

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1     address of the proposed employer to the Probation Officer at least

2     ten days prior to any scheduled change.

3                       xi.     Defendant shall not reside within direct view of

4     school yards, parks, public swimming pools, playgrounds, youth

5     centers, video arcade facilities, or other places primarily used by

6     persons under the age of 18.          Defendant’s residence shall be approved

7     by the Probation Officer, and any change in residence must be pre-

8     approved by the Probation Officer.          Defendant shall submit the

9     address of the proposed residence to the Probation Officer at least
10    ten days prior to any scheduled move.
11                      xii. Defendant shall submit defendant’s person, and
12    any property, house, residence, vehicle, papers, computer, other
13    electronic communication or data storage devices or media, and
14    effects to search at any time, with or without warrant, by any law
15    enforcement or Probation Officer with reasonable suspicion concerning
16    a violation of a condition of probation/supervised release or
17    unlawful conduct by defendant, and by any Probation Officer in the
18    lawful discharge of the officer’s supervision function.

19                      xiii.        Defendant shall possess and use only those

20    computers and computer-related devices, screen usernames, passwords,

21    email accounts, and internet service providers (“ISPs”) that have

22    been disclosed to the Probation Officer upon commencement of

23    supervision.     Any changes or additions are to be disclosed to the

24    Probation Officer prior to defendant’s first use.              Computers and

25    computer-related devices include personal computers, personal data

26    assistants (“PDAs”), internet appliances, electronic games, cellular

27    telephones, and digital storage media, as well as their peripheral

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1     equipment, that can access, or can be modified to access, the

2     internet, electronic bulletin boards, and other computers.

3                       xiv. All computers, computer-related devices, and

4     their peripheral equipment, used by defendant shall be subject to

5     search and seizure.      This shall not apply to items used at the

6     employment’s site that are maintained and monitored by the employer.

7                       xv.   Defendant shall comply with the rules and

8     regulations of the Computer Monitoring Program.             Defendant shall pay

9     the cost of the Computer Monitoring Program, in an amount not to
10    exceed $32 per month per device connected to the internet.
11                                THE USAO’S OBLIGATIONS

12          4.    The USAO agrees to:

13                a.    Not contest facts agreed to in this agreement.

14                b.    Abide by all agreements regarding sentencing contained

15    in this agreement and affirmatively recommend to the Court that it

16    impose sentence in accordance with paragraph 16 of this agreement.

17                c.    At the time of sentencing, move to dismiss the

18    remaining counts of the Indictment as against defendant.               Defendant

19    agrees, however, that at the time of sentencing the Court may

20    consider any dismissed charges in determining the applicable

21    Sentencing Guidelines range, the propriety and extent of any

22    departure from that range, and the sentence to be imposed.

23                                 NATURE OF THE OFFENSE

24          5.    Defendant understands that for defendant to be guilty of

25    the crime charged in Count Two, that is, Production of Child

26    Pornography, in violation of 18 U.S.C. § 2251(a), (e), the following

27    must be true:

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1                 a.    First, at the time, the victim was under the age of 18

2     years;

3                 b.    Second, defendant employed, used, persuaded, or

4     coerced the victim to take part in sexually explicit conduct for the

5     purpose of producing a visual depiction of such conduct; and

6                 c.    Third, defendant either (1) knew or had reason to know

7     that the visual depiction would be mailed or transported across state

8     lines or in foreign commerce, (2) the visual depiction was produced

9     using materials that had been mailed, shipped, or transported across
10    state lines or in foreign commerce, or (3) the visual depiction was
11    mailed or actually transported across state lines or in foreign
12    commerce.
13                               PENALTIES AND RESTITUTION

14          6.    Defendant understands that the statutory maximum sentence

15    that the Court can impose for a violation of 18 U.S.C. § 2251(a),

16    (e), is: 30 years’ imprisonment; a lifetime period of supervised

17    release; a fine of $250,000 or twice the gross gain or gross loss

18    resulting from the offense, whichever is greatest; and a mandatory

19    special assessment of $100.

20          7.    Defendant understands that the statutory mandatory minimum

21    sentence that the Court must impose for such a violation is: 15

22    years’ imprisonment, followed by a 5-year period of supervised

23    release, and a mandatory special assessment of $100.

24          8.    Defendant understands that defendant will be required to

25    pay full restitution to the victim(s) of the offense to which

26    defendant is pleading guilty.         Defendant agrees that, in return for

27    the USAO’s compliance with its obligations under this agreement, the

28    Court may order restitution to persons other than the victim(s) of

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1     the offense to which defendant is pleading guilty and in amounts

2     greater than those alleged in the count to which defendant is

3     pleading guilty.        In particular, defendant agrees that the Court may

4     order restitution to any victim of any of the following for any

5     losses suffered by that victim as a result: (a) any relevant conduct,

6     as defined in U.S.S.G. § 1B1.3, in connection with the offense to

7     which defendant is pleading guilty; and (b) any counts dismissed

8     pursuant to this agreement as well as all relevant conduct, as

9     defined in U.S.S.G. § 1B1.3, in connection with those counts.
10          9.    Defendant understands that, pursuant to the Justice for
11    Victims of Trafficking Act of 2015, the Court shall impose an
12    additional $5,000 special assessment if the Court concludes that
13    defendant is a non-indigent person, to be paid after defendant’s
14    other financial obligations have been satisfied.
15          10.   Defendant understands that, pursuant to the Amy, Vicky, and
16    Andy Child Pornography Victim Assistance Act of 2018 found in 18
17    U.S.C. § 2259A, the Court may impose an additional assessment of up
18    to $50,000.

19          11.   Defendant understands that supervised release is a period

20    of time following imprisonment during which defendant will be subject

21    to various restrictions and requirements.               Defendant understands that

22    if defendant violates one or more of the conditions of any supervised

23    release imposed, defendant may be returned to prison for all or part

24    of the term of supervised release authorized by statute for the

25    offense that resulted in the term of supervised release, which could

26    result in defendant serving a total term of imprisonment greater than

27    the statutory maximum stated above.

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1         12.   Defendant understands that, by pleading guilty, defendant

2    may be giving up valuable government benefits and valuable civic

3    rights, such as the right to vote, the right to possess a firearm,

4    the right to hold office, and the right to serve on a jury.

5    Defendant understands that he is pleading guilty to a felony and that

6    it is a federal crime for a convicted felon to possess a firearm or

7    ammunition.   Defendant understands that the conviction in this case

8    may also subject defendant to various other collateral consequences,

9    including but not limited to revocation of probation, parole, or
10   supervised release in another case and suspension or revocation of a
11   professional license.     Defendant understands that unanticipated
12   collateral consequences will not serve as grounds to withdraw
13   defendant’s guilty plea.
14        13.   Defendant and his counsel have discussed the fact that, and
15   defendant understands that, if defendant is not a United States
16   citizen, the conviction in this case makes it practically inevitable
17   and a virtual certainty that defendant will be removed or deported
18   from the United States.      Defendant may also be denied United States

19   citizenship and admission to the United States in the future.

20   Defendant understands that while there may be arguments that

21   defendant can raise in immigration proceedings to avoid or delay

22   removal, removal is presumptively mandatory and a virtual certainty

23   in this case.    Defendant further understands that removal and

24   immigration consequences are the subject of a separate proceeding and

25   that no one, including his attorney or the Court, can predict to an

26   absolute certainty the effect of his conviction on his immigration

27   status.    Defendant nevertheless affirms that he wants to plead guilty

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1    regardless of any immigration consequences that his plea may entail,

2    even if the consequence is automatic removal from the United States.

3                                    FACTUAL BASIS

4         14.   Defendant admits that defendant is, in fact, guilty of the

5    offense to which defendant is agreeing to plead guilty.           Defendant

6    and the USAO agree to the statement of facts provided below and agree

7    that this statement of facts is sufficient to support a plea of

8    guilty to the charge described in this agreement and to establish the

9    Sentencing Guidelines factors set forth in paragraph 15 below but is
10   not meant to be a complete recitation of all facts relevant to the
11   underlying criminal conduct or all facts known to either party that
12   relate to that conduct.
13        On or about July 6, 2020, defendant drove from California to
14   Oregon and kidnapped the victim, who was 15 years-old.           Between on or
15   about July 6-8, 2020, defendant transported the victim from Oregon to
16   California.   Once in Los Angeles County, which is within the Central
17   District of California, defendant held the victim against her will to
18   have sex with the victim.

19        Beginning on or about July 7, 2020, and continuing to on or

20   about July 11, 2020, in Los Angeles County, defendant filmed himself

21   having sex with the victim, a 15 year-old girl, on his cellphone,

22   components of which had been manufactured outside the District and

23   shipped in interstate commerce.       Defendant knowingly filmed the

24   encounter and knew the victim was a minor.

25                 SENTENCING FACTORS AND AGREED-UPON SENTENCE

26        15.   Defendant understands that in determining defendant’s

27   sentence the Court is required to calculate the applicable Sentencing

28   Guidelines range and to consider that range, possible departures

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1    under the Sentencing Guidelines, and the other sentencing factors set

2    forth in 18 U.S.C. § 3553(a).      Defendant understands that the

3    Sentencing Guidelines are advisory only.

4         16.   Defendant and the USAO agree to the following applicable

5    Sentencing Guidelines factors:

6        Base Offense Level:                   32           U.S.S.G. § 2G2.1(a)

7        Minor under 16 years:                 +2                    U.S.S.G. §
                                                                 2G2.1(b)(1)(B)
8        Aggravated Sexual Abuse:              +4                    U.S.S.G. §
                                                             2G2.1(b)(2)(B)(ii)
9        Use of Computer:                      +2                    U.S.S.G. §
                                                             2G2.1(b)(2)(B)(ii)
10       Acceptance of Responsibility:         -3           U.S.S.G. § 3E1.1(a)

11       Total Offense Level:                  37

12       Criminal History Category:            I

13       Guideline Range:                      210-262 months’ imprisonment

14
          17.   The parties agree not to argue that any other specific
15
     offense characteristics, adjustments, or departures be imposed.
16
          18.   Defendant and the USAO agree that, taking into account the
17
     factors listed in 18 U.S.C. § 3553(a)(1)-(7), the relevant sentencing
18
     guideline factors set forth above, and the factual basis of this plea
19
     agreement, an appropriate disposition of this case is that the Court
20
     impose a sentence of: 210-327 months’ imprisonment; 20 years’
21
     supervised release with conditions to be fixed by the Court; $250,000
22
     fine, unless the Court determines defendant to be indigent; $100
23
     general special assessment; $5,000 JVTA special assessment; and up to
24
     $50,000 AVAA special assessment.       The parties agree that restitution
25
     is to be paid pursuant to a schedule to be fixed by the Court.            The
26
     parties also agree that no prior imprisonment (other than credits
27
     that the Bureau of Prisons may allow under 18 U.S.C. § 3585(b)) may
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1    be credited against this stipulated sentence, including credit under

2    Sentencing Guideline § 5G1.3.

3                             WAIVER OF CONSTITUTIONAL RIGHTS

4         19.   Defendant understands that by pleading guilty, defendant

5    gives up the following rights:

6               a.    The right to persist in a plea of not guilty.

7               b.    The right to a speedy and public trial by jury.

8               c.    The right to be represented by counsel – and if

9    necessary have the Court appoint counsel -- at trial.             Defendant
10   understands, however, that, defendant retains the right to be
11   represented by counsel – and if necessary have the Court appoint
12   counsel – at every other stage of the proceeding.
13              d.    The right to be presumed innocent and to have the
14   burden of proof placed on the government to prove defendant guilty
15   beyond a reasonable doubt.
16              e.    The right to confront and cross-examine witnesses
17   against defendant.
18              f.    The right to testify and to present evidence in

19   opposition to the charges, including the right to compel the

20   attendance of witnesses to testify.

21              g.    The right not to be compelled to testify, and, if

22   defendant chose not to testify or present evidence, to have that

23   choice not be used against defendant.

24              h.    Any and all rights to pursue any affirmative defenses,

25   Fourth Amendment or Fifth Amendment claims, and other pretrial

26   motions that have been filed or could be filed.

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1                         WAIVER OF RETURN OF DIGITAL DATA

2         20.    Understanding that the government has in its possession

3    digital devices and/or digital media seized from defendant, defendant

4    waives any right to the return of digital data contained on those

5    digital devices and/or digital media and agrees that if any of these

6    digital devices and/or digital media are returned to defendant, the

7    government may delete all digital data from those digital devices

8    and/or digital media before they are returned to defendant.

9                             WAIVER OF APPEAL OF CONVICTION
10        21.    Defendant understands that, with the exception of an appeal

11   based on a claim that defendant’s guilty plea was involuntary, by

12   pleading guilty defendant is waiving and giving up any right to

13   appeal defendant’s conviction on the offense to which defendant is

14   pleading guilty.    Defendant understands that this waiver includes,

15   but is not limited to, arguments that the statute to which defendant

16   is pleading guilty is unconstitutional, and any and all claims that

17   the statement of facts provided herein is insufficient to support

18   defendant’s plea of guilty.

19                  LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

20        22.    Defendant agrees that, provided the Court imposes the

21   sentence specified in paragraph 18 above, defendant gives up the

22   right to appeal any portion of that sentence, and the procedures and

23   calculations used to determine and impose any portion of that

24   sentence.

25        23.    The USAO agrees that, provided the Court imposes the

26   sentence specified in paragraph 18 above, the USAO gives up its right

27   to appeal any portion of that sentence, and the procedures and

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1    calculations used to determine and impose any portion of that

2    sentence.

3                       RESULT OF WITHDRAWAL OF GUILTY PLEA

4         24.    Defendant agrees that if, after entering a guilty plea

5    pursuant to this agreement, defendant seeks to withdraw and succeeds

6    in withdrawing defendant’s guilty plea on any basis other than a

7    claim and finding that entry into this plea agreement was

8    involuntary, then (a) the USAO will be relieved of all of its

9    obligations under this agreement; and (b) should the USAO choose to
10   pursue any charge that was either dismissed or not filed as a result
11   of this agreement, then (i) any applicable statute of limitations
12   will be tolled between the date of defendant’s signing of this
13   agreement and the filing commencing any such action; and
14   (ii) defendant waives and gives up all defenses based on the statute
15   of limitations, any claim of pre-indictment delay, or any speedy
16   trial claim with respect to any such action, except to the extent
17   that such defenses existed as of the date of defendant’s signing this
18   agreement.

19                   RESULT OF VACATUR, REVERSAL OR SET-ASIDE

20        25.    Defendant agrees that if the count of conviction is

21   vacated, reversed, or set aside, both the USAO and defendant will be

22   released from all their obligations under this agreement.

23

24                            EFFECTIVE DATE OF AGREEMENT

25        26.    This agreement is effective upon signature and execution of

26   all required certifications by defendant, defendant’s counsel, and an

27   Assistant United States Attorney.

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1                                 BREACH OF AGREEMENT

2         27.   Defendant agrees that if defendant, at any time after the

3    signature of this agreement and execution of all required

4    certifications by defendant, defendant’s counsel, and an Assistant

5    United States Attorney, knowingly violates or fails to perform any of

6    defendant’s obligations under this agreement (“a breach”), the USAO

7    may declare this agreement breached.       All of defendant’s obligations

8    are material, a single breach of this agreement is sufficient for the

9    USAO to declare a breach, and defendant shall not be deemed to have
10   cured a breach without the express agreement of the USAO in writing.
11   If the USAO declares this agreement breached, and the Court finds
12   such a breach to have occurred, then: (a) if defendant has previously
13   entered a guilty plea pursuant to this agreement, defendant will not
14   be able to withdraw the guilty plea, (b) the USAO will be relieved of
15   all its obligations under this agreement, and (c) the Court’s failure
16   to follow any recommendation or request regarding sentence set forth
17   in this agreement will not provide a basis for defendant to withdraw
18   defendant’s guilty plea.

19        28.   Following the Court’s finding of a knowing breach of this

20   agreement by defendant, should the USAO choose to pursue any charge

21   that was either dismissed or not filed as a result of this agreement,

22   then:

23              a.    Defendant agrees that any applicable statute of

24   limitations is tolled between the date of defendant’s signing of this

25   agreement and the filing commencing any such action.

26              b.    Defendant waives and gives up all defenses based on

27   the statute of limitations, any claim of pre-indictment delay, or any

28   speedy trial claim with respect to any such action, except to the

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1    extent that such defenses existed as of the date of defendant’s

2    signing this agreement.

3               c.    Defendant agrees that: (i) any statements made by

4    defendant, under oath, at the guilty plea hearing (if such a hearing

5    occurred prior to the breach); (ii) the agreed to factual basis

6    statement in this agreement; and (iii) any evidence derived from such

7    statements, shall be admissible against defendant in any such action

8    against defendant, and defendant waives and gives up any claim under

9    the United States Constitution, any statute, Rule 410 of the Federal
10   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal
11   Procedure, or any other federal rule, that the statements or any
12   evidence derived from the statements should be suppressed or are
13   inadmissible.
14          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

15                                OFFICE NOT PARTIES

16        29.   Defendant understands that the Court and the United States

17   Probation and Pretrial Services Office are not parties to this

18   agreement and need not accept any of the USAO’s sentencing

19   recommendations or the parties’ agreements to facts, sentencing

20   factors, or sentencing.      Defendant understands that the Court will

21   determine the facts, sentencing factors, and other considerations

22   relevant to sentencing and will decide for itself whether to accept

23   and agree to be bound by this agreement.

24        30.   Defendant understands that both defendant and the USAO are

25   free to: (a) supplement the facts by supplying relevant information

26   to the United States Probation and Pretrial Services Office and the

27   Court, (b) correct any and all factual misstatements relating to the

28   Court’s Sentencing Guidelines calculations and determination of

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1    sentence, and (c) argue on appeal and collateral review that the

2    Court’s Sentencing Guidelines calculations and the sentence it

3    chooses to impose are not error, although each party agrees to

4    maintain its view that the calculations and sentence referenced in

5    paragraphs 15 and 16 are consistent with the facts of this case.

6    While this paragraph permits both the USAO and defendant to submit

7    full and complete factual information to the United States Probation

8    and Pretrial Services Office and the Court, even if that factual

9    information may be viewed as inconsistent with the facts agreed to in
10   this agreement, this paragraph does not affect defendant’s and the
11   USAO’s obligations not to contest the facts agreed to in this
12   agreement.
13                             NO ADDITIONAL AGREEMENTS

14        31.   Defendant understands that, except as set forth herein,

15   there are no promises, understandings, or agreements between the USAO

16   and defendant or defendant’s attorney, and that no additional

17   promise, understanding, or agreement may be entered into unless in a

18   writing signed by all parties or on the record in court.

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